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 6                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
 7
 8   DORA MAYORQUIN MEDINA                          ) Case No. 2:20-cv-09711-JC
 9       Plaintiff,                                 )
                                                    )
10
                    vs.                             ) JUDGMENT
11                                                  )
12
     KILOLO KIJAKAZI, 1 Acting                      )
     Commissioner of Social Security,               )
13                                                  )
14          Defendant.                              )
                                                    )
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            The Court hereby approves the parties’ Stipulation to Voluntary Remand
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     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
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     (“Stipulation to Remand”) lodged concurrent with this Judgment of Remand, IT IS
19
     HEREBY ORDERED, ADJUDGED AND DECREED that the above-captioned
20
     action is remanded to the Commissioner of Social Security for further proceedings
21
     consistent with the Stipulation to Remand.
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23
     DATED: October 20, 2021
24                                                     /s/
25                                        HONORABLE JACQUELINE CHOOLJIAN
                                          UNITED STATES MAGISTRATE JUDGE
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     1
        Kilolo Kijakazi, the Acting Commissioner of the Social Security Administration, is substituted
     in as the Defendant pursuant to Rule 25(d) of the Federal Rules of Civil Procedure.
